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                                UNITED STATES DISTRICT COURT
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                               CENTRAL DISTRICT OF CALIFORNIA
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  11   Foremost Groups Inc.,               )            CASE NO. CV 11-7473-GAF (Ex)
                                           )
  12                Plaintiff(s),          )            ORDER REMOVING CASE FROM
              v.                           )            ACTIVE CASELOAD BY VIRTUE OF
  13                                       )            STAY
       Ayers Bath USA Corporation.,        )
  14                                       )
                    Defendant(s)           )
  15                                       )
                                           )
  16   ____________________________________)
  17          The Court having stayed this action pending arbitration/ ruling on the
  18   appeal,
  19          IT IS HEREBY ORDERED that this action is removed from the Court’s
  20   active caseload until further application by the parties or Order of this Court.
  21          IT IS FURTHER ORDERED that counsel for plaintiff shall file semi-
  22   annual status reports commencing on September 6, 2013. All pending calendar
  23   dates are vacated by the Court.
  24          This Court retains jurisdiction over this action and this Order shall not
  25   prejudice any party to this action.
  26   IT IS SO ORDERED.
  27
  28   DATED: March 25, 2013                          __________________________
                                                      GARY ALLEN FEESS
                                                      United States District Judge
